Case 25-30072 Doci1 Filed 01/10/25 Entered 01/10/25 14:35:28 Desc Main

Document

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United States Bankruptcy Court for the:

District of

» Case number (if known):

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

CX Chapter 7
CQ Chapter 41
2 Chapter 12
OQ) Chapter 13

Chapter you are filing under:

Page 1 of 9

Ann

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JAN 49 2025

TIME: 2:07 Pr

CLERK, U.S. BANKRUPTCY CeBie”
ST. PAUL, MINNERSO E90 Tiling

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rs
7

06/24

The bankruptcy forms use you and Debtor 1 to refer to a de

btor filing alone. A married couple may file a bankruptcy case together—called a

joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”

the answer would be yes if either debtor owns a car. When infor
Debtor 2 to distinguish between them, In joint cases, one of the s

same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible,
information. If more space is needed, attac’

(if known). Answer every question.

Ee Identify Yourself

mation is needed about the spouses separately, the form uses Debtor 7 and
pouses must report information as Debtor 7 and the other as Debtor 2. The

If two married people are filing together, both are equally responsible for supplying correct
ha separate sheet to this form. On the top of any additional pages, write your name and case number

Lie

1. Your full name

Write the name that is on your
government-issued picture
identification (for example,
your driver's license or
passport).

Bring your picture
identification to your meeting
with the trustee.

Suffix (Sr., Jr. lil)

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
Stephanie

First name First name

La'Donna

Middle name Middle name

Cary-Blake

Last name Last name

Suffix (Sr., Jr, I, IN)

2. All other names you
have used in the last &
years

Include your married or
maiden names and any
assumed, trade names and
doing business as names,

Do NOT list the name of any
separate legal entity such as
a corporation, partnership, or
LLC that is not filing this
petition.

3. Only the last 4 digits of
your Social Security
number or federal
Individual Taxpayer
Identification number

(ITIN)

Official Form 101

Stephanie

First name First fiame
La'Donna

Middle name Middle name
Lucas

Last name Last name
First name First name
Middie name Middle name
Last name Last name

Business name (if applicable)

Business name (if applicable)

+ Aaa

Business name (if applicable)

Business name (if applicable)

ee i orn
wx -x-_ 1 7 2 6 wx -x- >
OR OR.
Q9xx - xx - 9 xx — xx -

Voluntary Petition for Individuals Filing for Bankruptcy

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Debtor 1

Document

Stephanie Ladonna Cary-Blake

First Name

4. Your Employer
Identification Number
(EIN), if any.

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Middle Name

Last Name

About Debtor 1:

EIN”

EN

Homeless

Page 2 of 9
Case number (if known)

Number Street

Homeless

Saint Paul MN 55106

City State ZIP Code

Ramsey

County

If your mailing address is different from the one
above, fill it in here, Note that the court will send
any notices to you at this mailing address.

1716 Third Street East

Number Street

P,Q. Box

Saint Paul MN 55106
Clty State ZIP Code
Check one;

XQ Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

Q Ihave another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

Lote

About Debtor 2 (Spouse Only in a Joint Case):

if Debtor 2 lives at a different address:

Awe

Number Street

City... State ZIP Code

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

tober

Number Street

P.O. Box

haw

Clty State ZIP Code

Check one:

(J Over the last 180 days before filing this petition,
«have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

page 2

Debtor 4

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Stephanie Ladonna Cary-Blake

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Case number (if known),

First Name

Middle Name

Last Name

i the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

10.

11.

Are any bankruptcy
cases pending or being

filed by a spouse who is

not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Xe

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

XQ Chapter 7 ots
CL) Chapter 11
C) Chapter 12
(J Chapter 13

C) | will pay the entire fee when I file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

2 | need to pay the fee in installments. If you choose this’ option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

Xi | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to

pay the fee in installments). If you choose this option, you_must fill out the Application to Have the

Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

LC] Yes. District When Case number
MM/ DD/YYXY
District When Case number
MM/ ODD/YYYY
District When Case number
MM/ DD/YYYY
i No
Ci Yes. Debtor Relationship to you
District When Case number, if known
MM/DD /YYYY
Debtor Relationship to you
District When Case number, if known.
MM /DD/YYYY
4 No. Go to line 12.

Ol Yes.

Has your landlord obtained an eviction judgment against you?

C) No. Go to line 12.

C Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

doe

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 1 Stephanie Ladonna Cary-Blake Case number (if known)

First Name Middle Name Last Name

FE even About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor CJ No. Go to Part 4.

of any full- or part-time ote
business? xa Yes. Name and location of business
A sole proprietorship is a Vontaj Fitness and Wellness Studio Inc.

business you operate as an

individual, and is not a Name of business, if any

separate legal entity such as 1716 Third Street East
a corporation, partnership, or
LLC. Number Street

lf you have more than one
sole proprietorship, use a

separate sheet and attach it Saint Pau! MN 55106
to this petition. Gi
ity State . ZIP Code

Check the appropriate box to describe your business: os

OQ) Health Care Business (as defined in 11 U.S.C. § 101(27A))
C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)}
O) Stockbroker (as defined in 11 U.S.C. § 101(53A))

©) Commodity Broker (as defined in 11 U.S.C. § 101(6))

x None of the above oe

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code, and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
are you a small business if any of these documents do not exist, follow the procedure in 11 U.S.C. § 4116(1)(B).
debtor? 4 By
For a definition of small No. Lam not filing under Chapter 11. ae
busi bior, os : . be
USC etOTeIO). CI No. iam filing under Chapter 11, but 1am NOT a small business debtor according to the definition in

the Bankruptcy Code.
Q) Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | do not choose to proceed under Subchapter V of Chapter 11.

©) Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

n.
r

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Debtor 4 Stephanie Ladonna Cary-Blake Case number (if known)

First Name Middle Name Last Name

tae

ee "ere if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any XX) No
property that poses or is

alleged to pose a threat Cl] Yes. What is the hazard?
of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

Number Street

City State ZIP Code

ke
I

foe

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5
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Debtor 1 Stephanie Ladonna Cary-Blake

Document

First Name Middle Name

Last Name

ee mram Your Efforts to Receive a Briefing About Credit Counseling

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Case number (if known)

toe

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

xX | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C] | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain It before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfled with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, If any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

() | am not required to receive a briefing about

credit counseling because of:

C] incapacity. {| have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

() Disability. My physical! disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

() Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

AboutDebtor 2 (Spouse Only in a Joint Case):

You must check one:

(1 | received a briefing from an approved credit

counseling agency within the 180 days before I
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(J | received a briefing from an approved credit

counseling agency within the 180 days before |
tiled this bankruptcy petition, but | do not have a
certificate of completion.

‘Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) | certify that { asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
‘circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
tequired you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(J 1 am not required to receive a briefing about

credit counseling because of:

C) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

L) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

LJ Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
‘motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 6
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Debtor 4 Stephanie Ladonna Cary-Blake Case number (if known)

First Name Middle Name Last Name

Ee ewer These Questions for Reporting Purposes

. 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. vou have? of debts do as “incurred by an individual primarily for a personal, family, or household purpose.”
0 f
©) No. Go to line 16b. dale
Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

(I No. Ge to line 16c.
(] Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

17. Are you filing under

Chapter 7? C) No. tam not filing under Chapter 7. Go to line 18.

Do you estimate that after ” Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and ag No

administrative expenses

are paid that funds will be C) Yes

available for distribution
to unsecured creditors?

1g. How many creditorsdo (1 1-49 Cl 14,000-5,000 — (J 25,001-50,000
you estimate that you 50-99 LI 5,001-10,000 Q) 50,001-100,000
owe? 100-199 QC) 10,001-25,000 (2 More than 100,000
L) 200-999
19. How much do you (J $0-$50,000 (2) $1,000,001-$10 million [J $500,000,001-$1 biflion
estimate your assets to =): $50,001-$100,000 (2 $10,000,001-$50 million... C) $1,000,000,001-$10 billion
be worth? 3 $100,001-$500,000 ( $50,000,001-$100 million C2) $10,000,000,001 -$50 billion
Cl] $500,001-$1 million (3 $100,000,001-$500 million O) More than $50 billion
20. How much do you [) $0-$50,000 J $1,000,001-$10 million C) $500,000,001-$1 billion
estimate your liabilities § () $50,001-$100,000 (2 $10,000,001-$50 million CJ $1,000,000,001-$10 billion
to be? MI $100,001-$500,000 C $50,000,001 -$100 million C) $10,000,000,004 -$50 billion
L) $500,001-$1 million CI $100,000,001-$500 millier: () More than $50 billion

Sign Below
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7. ards

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and OR nn ee

Wey, Verified by PDFFiller |

im

Signature of Debtor 7 Signature of Debtor 2
ei Sef Wits
Executed on 99/07/2024 Executed on
MM / DD /YYYY MM / DD /YYYY
sia Dea

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Debtor 1 Stephanie Ladonna Cary-Blake Case number (if known).

First Name Middle Name Last Name

i, the attorney for the debtor(s) named in this petition, declare that-t-have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4){D) applies, certify that | have no

For your attorney, if you are
represented by one

If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
x Date
Signature of Attorney for Debtor MM / DD /YYYY

Printed name

Firm name

Number Street

Lote

City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Debtor 1 Stephanie Ladonna Cary-Blake Case number (if known)

First Name Middle Name Last Name
-For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

if you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S, trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property, The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

% No

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CQ] No
® Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

OX No

C] Yes. Name of Person
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 1 19).

oom

Ade

ate

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

- ‘Verified by POFFillor
1 Go a #2024

x Jes phe KM ex

Signature of Debtor 1 Signature of Debtor 2
oO fio /Z62o
Date 09/07/2024. Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone Contact phone
Cell phone Gell phone
Email address Stephanieladonna07@mail.com Email address

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Ate
